           Case 1:16-cr-00069-JLT-SKO Document 499 Filed 11/20/17 Page 1 of 2

 1 PHILLIP A. TALBERT
   United States Attorney
 2 KIMBERLY A. SANCHEZ
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00069-LJO-SKO

12                                Plaintiff,             PRELIMINARY ORDER OF FORFEITURE

13                          v.

14   STEVEN BLACKMON,

15                                Defendant.

16

17          Based upon the plea agreement entered between the United States and defendant Steven

18 Blackmon and the accompanying Application for Preliminary Order of Forfeiture and Publication

19 Thereof by the United States, it is hereby ORDERED, ADJUDGED AND DECREEED as follows:

20          1.      Pursuant to 18 U.S.C. § 924(d), 21 U.S.C. § 853(a), and 28 U.S.C. § 2461(c), the interest

21 of Steven Blackmon in the following property shall be condemned and forfeited to the United States of

22 America, to be disposed of according to law:

23                  a. Approximately $4,006.00 in U.S. Currency,

24                  b. Model 21, .45 caliber semi-automatic handgun, and

25                  c. All ammunition seized from defendant in this case.

26          2.      The approximately $4,006.00 in U.S. Currency is property constituting, or derived from,

27 any proceeds the defendant obtained, directly or indirectly as a result of a violation of 21 U.S.C. §

28 841(a)(1). The Model 21, .45 caliber semi-automatic handgun and any ammunition seized from the


      PRELIMINARY ORDER OF FORFEITURE                    1
30
           Case 1:16-cr-00069-JLT-SKO Document 499 Filed 11/20/17 Page 2 of 2

 1 defendant are property involved in or used in a knowing violation of 18 U.S.C. § 922(g)(1).

 2          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 3 seize the above-listed property. The aforementioned property shall be seized and held by the United

 4 States Marshals Service or the Federal Bureau of Investigation in its secure custody and control.

 5          4.      a. Pursuant to 28 U.S.C. § 2461(c), incorporating, 21 U.S.C. § 853(n) and Local Rule

 6 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice of

 7 the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 8 General may direct shall be posted for at least 30 consecutive days on the official internet government

 9 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

10 written notice to any person known to have alleged an interest in the property that is the subject of the

11 order of forfeiture as a substitute for published notice as to those persons so notified.

12                  b. This notice shall state that any person, other than the defendant, asserting a legal

13 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

14 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

15 within thirty (30) days from receipt of direct written notice, whichever is earlier.

16          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

17 Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 924(d), 21 U.S.C. § 853(a), and 28

18 U.S.C. § 2461(c), in which all interests will be addressed.

19          6.      The government, in its discretion, shall conduct discovery, including written discovery,

20 the taking of depositions, and the issuance of subpoenas, in order to identify, locate or dispose of

21 property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules of Criminal

22 Procedure.

23
     IT IS SO ORDERED.
24

25      Dated:     November 20, 2017                            /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
26
27

28


      PRELIMINARY ORDER OF FORFEITURE                       2
30
